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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

                                                 :
JOHN DOE, an individual,                         :
                                                 :
                         Plaintiff,              :
                                                 :
      v.                                         : Case No. 18-cv-11776
                                                 :
UNIVERSITY OF MICHIGAN (as to Title              : Hon. Arthur J. Tarnow
IX violations), BOARD OF REGENTS OF              : Mag. Elizabeth A. Stafford
THE UNIVERSITY OF MICHIGAN, a                    :
constitutional corporate body (as to Title IX    :
& ELCRA violations), PAMELA HEATLIE,             :
ROBERT SELLERS, MARTIN PHILBERT,                 :
ERIK WESSEL, LAURA BLAKE JONES,                  :
E. ROYSTER HARPER, SUZANNE                       :
MCFADDEN, and PAUL ROBINSON,                     :
employees of the University of Michigan,         :
sued in his or her personal and official         :
capacities, jointly and severally,               :
                                                 :
                         Defendants.             :


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   DEFENDANTS’ RESPONSE TO PLAINTIFF’S EX PARTE MOTION
             TO PROCEED UNDER PSEUDONYM




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      Defendants respectfully submit this response to Plaintiff’s Ex Parte Motion

to Proceed Under Pseudonym (Dkt. #2). The motion directly implicates interests

of the Court and of the public, as well as interests of the Defendants. The Sixth

Circuit has set forth a demanding standard that must be satisfied before a party

may be allowed to proceed in federal court anonymously, and numerous courts

have denied leave to proceed under a pseudonym under circumstances analogous

to this case.   It is not clear to Defendants how Plaintiff meets the standard

identified by the Sixth Circuit, but Defendants ultimately defer to the Court’s

management of its own docket and the presumption in favor of open and public

court proceedings. In formulating its decision on the instant motion, Defendants

submit the following for the Court’s consideration.

      The individual Defendants sued in this action are affiliated with the

University of Michigan (the “University”) and have been involved on behalf of the

University in a student disciplinary proceeding.      The University endeavors to

protect the privacy rights of all its students, and it is required to do so by federal

law, specifically the Family Educational Rights and Privacy Act (“FERPA”), 20

U.S.C. § 1232g. All University student disciplinary proceedings are confidential,

as to both the complainant and the respondent. Even if a respondent is found to

have violated a University policy, and is sanctioned, the University maintains the

confidentiality of the proceedings. The underlying details of the incident are not
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released to the public, even if it results in an expulsion.     Information in the

respondent’s educational and disciplinary files will be released only if authorized

by the respondent.

      Plaintiff now has chosen to move outside of the University disciplinary

process. He has brought an action in federal court, where decidedly different

interests govern the proceedings. As a general rule, a complaint must state the

names of all the parties to a case. Fed. R. Civ. P. 10(a); see generally John Does

1-114 v. Shalushi, No. 10-11837, 2010 WL 3037789 (E.D. Mich. July 30, 2010).1

“[P]rivacy in one’s identity in a public forum—such as a federal court—is the

exception, not the rule.” John Does 1-114, 2010 WL 3037789 at *4.

      As the Court explained in John Does 1-114, federal courts have supervisory

authority over their own records and files, but “the district court’s power to seal

records is subject to the ‘long-established legal tradition’ of open access to court

documents.” Id. (quoting Brown & Williamson Tobacco Corp. v. F.T.C., 710 F.2d

1165, 1177 (6th Cir. 1983)). As the Court of Appeals noted in In re Knoxville

News-Sentinel Co., Inc., 723 F.2d 470 (6th Cir. 1983):

            The recognition of this right of access goes back to the
            Nineteenth Century, when, in Ex Parte Drawbraugh, 2
            App. D.C. 404 (1894), the D.C. Circuit stated: “Any
            attempt to maintain secrecy, as to the records of this
            court, would seem to be inconsistent with the common


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      Unpublished cases are attached as Exhibit 1.
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             understanding of what belongs to a public court of
             record, to which all persons have the right of access.”

723 F.2d at 474 (citations omitted). “Only the most compelling reasons can justify

non-disclosure of judicial records.” Id. at 476.

      Against this backdrop, the Sixth Circuit has explained that a party’s request

to proceed anonymously requires a court to weigh “[s]everal considerations [to]

determine whether a plaintiff’s privacy interests substantially outweigh the

presumption of open judicial proceedings.” Doe v. Porter, 370 F.3d 558, 560 (6th

Cir. 2004). These considerations include:

             (1) whether the plaintiffs seeking anonymity are suing to
             challenge governmental activity; (2) whether prosecution
             of the suit will compel the plaintiffs to disclose
             information “of the utmost intimacy”; (3) whether the
             litigation compels plaintiffs to disclose an intention to
             violate the law, thereby risking criminal prosecution; and
             (4) whether the plaintiffs are children.

Id. Applying these factors, courts frequently have denied motions to proceed in

federal court on an anonymous basis in comparable situations. See, e.g., Doe v.

Univ. of Mich., No. 17-CV-10781 (E.D. Mich. May 4, 2017) (Friedman, J.) (copy

of order from ECF Docket included in Exhibit 1); Doe v. Frank, 951 F.2d 320, 324

(11th Cir. 1992) (refusing to allow plaintiff in sexual assault case to proceed

anonymously, even though revealing identity may cause “some personal

embarrassment”); Doe v. Del Rio, 241 F.R.D. 154, 159-62 & n.11 (S.D.N.Y. 2006)


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(ruling that plaintiffs alleging sexual abuse by police officers could not proceed

anonymously, and citing numerous cases where anonymity was denied); Doe v.

Shakur, 164 F.R.D. 359, 360-62 (S.D.N.Y. 1996) (denying motion by plaintiff to

remain anonymous in case alleging brutal sexual assault); John Does 1-114, supra

(denying motion to proceed anonymously, despite claim that plaintiffs and their

families in Iraq had been threatened with retaliation and violence); Doe H. v.

Haskell Indian Nations Univ., 266 F. Supp. 3d 1277, 1289 (D. Kan. 2017)

(denying alleged victim’s motion to proceed anonymously in suit against public

university); Doe v. Rahinsky, No. 1:15-CV-1140 (W.D. Mich. Dec. 17, 2015)

(denying motion to proceed anonymously in case raising constitutional challenge

to the residency restrictions in Michigan’s Sex Offender Registration Act) (copy of

order from ECF Docket included in Exhibit 1).

      Considering the factors identified by the Sixth Circuit in Doe v. Porter, it is

not clear to Defendants how Plaintiff meets those factors. He can establish the first

factor that he is suing to challenge an official state action. With regard to the

second factor, it is not clear Plaintiff can establish that prosecution of the action in

his own name would require him to disclose information “of the utmost intimacy.”

See Doe v. Porter, 370 F.3d at 560.

      At issue in this case are actions Plaintiff took, not actions done to him.

Moreover, the mere act of filing this lawsuit has already resulted in the disclosure

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of the underlying incident—Plaintiff just does not want his name associated with

those details. See D.E. v. John Doe, 834 F.3d 723, 728 (6th Cir. 2016), cert.

denied sub nom. D.E. v. John Doe 1, 137 S. Ct. 2246 (2017) (plaintiff forfeited

ability to keep his actions secret from future employers when he filed suit). With

regard to the third and fourth factors, it is not subject to dispute that Plaintiff

cannot establish them—he is not disclosing an intention to violate the law and

thereby risking criminal prosecution, and he is not a minor.

      Ultimately, as the interests here most directly affect the Court’s power over

its own proceedings and the public’s interest in an open forum, the decision on the

motion lies within the Court’s discretion. Doe v. Porter, 370 F.3d at 560.

      Defendants note that the same considerations do not apply to the disclosure

of identifying information concerning the Complainant. Plaintiff has voluntarily

chosen to bring claims in federal court. Moreover, while seeking anonymity,

Plaintiff’s counsel has at the same time actively encouraged public attention to this

case. Counsel’s website links to media coverage of this lawsuit by Fox 2 and the

Detroit Free Press, which include interviews given by counsel and a pdf of the

complaint being posted on the Detroit Free Press’s website. See Deborah Gordon

Law, In the News, Headlines From Our Current Cases, available at

http://www.deborahgordonlaw.com/legal-news/media-coverage/ (linking to

http://www.fox2detroit.com/news/local-news/attorney-um-student-charged-in-sex-

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assault-has-rights-violated and

https://www.freep.com/story/news/local/michigan/2018/06/05/lawsuit-seeks-

overturn-university-michigan-sex-assault-policy/672290002/).

      In contrast, the Complainant has not voluntarily chosen to bring claims in

federal court. Under FERPA, a party who has filed a lawsuit against a university is

deemed to have waived his or her right to the privacy of educational records at

issue in the case. See 34 C.F.R. § 99.31(a)(9)(iii)(B) (“institution may disclose

personally identifiable information from an educational record of a student without

the consent” of the student, if that student “initiates legal action against an

educational agency or institution”); Jennings v. Univ. of North Carolina at Chapel

Hill, 340 F. Supp. 2d 679, 681-82 (M.D.N.C. 2004). Complainant has not waived

her rights to privacy as established under FERPA.

      Whatever decision the Court may make on the motion, all hearings in this

case must remain fully open to the public. Accord Doe v. Cabrera, 307 F.R.D. 1,

10 (D.D.C. 2014) (“If, however, a trial is ultimately needed to resolve this dispute,

then the defendant’s ability to receive a fair trial will likely be compromised if the

Court allows the plaintiff to continue using a pseudonym, as the jurors may

construe the Court’s permission for the plaintiff to conceal her true identity as a

subliminal comment on the harm the alleged encounter with the defendant has

caused the plaintiff.”) (citing E.E.O.C. v. Spoa, LLC, No. CIV. CCB-13-1615,

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2013 WL 5634337, at *3 (D. Md. Oct. 15, 2013) (a “grant of anonymity would

implicitly influence the jury” at trial)).

       It would be impossible for Plaintiff to testify in open court and retain his

anonymity. The courtroom must not be closed or other persons excluded. It is

difficult to see how, if this case proceeds, Plaintiff can both maintain this action

and preserve his anonymity.

                                   Respectfully submitted,

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June 11, 2018



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                         CERTIFICATE OF SERVICE
       I hereby certify that on June 11, 2018, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system which will send

notification    of    such      filing    to    Deborah       L.     Gordon      at

dgordon@deborahgordonlaw.com.


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